Case 2:05-Cr-20029-BBD Dooument 32 Filed 07/08/05 Page 1 of 2 PagelD 29

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Plaintiff

VS.
CR. NO. 05-20029-D

ANTHONY W|LLES

Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
re ort date of Thursda Ju| 21 2005 at 9:00 a.m., in Courtroom 3 9th Floor of the

 

 

Federa| Bui|ding, Memphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT |S SO ORDERED this d day Of JU|y, 2005.

 

Thls document entered on the docket SheeYcompliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20029 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

